Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 1 of 17 Page ID #:407



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  17                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
  18                            WESTERN DIVISION
  19
                                                 Case No. 2:21-cv-04972-FMO-MAA
  20     ENTERTAINMENT STUDIOS
         NETWORKS, INC., a California
  21     corporation; WEATHER GROUP,
         LLC, a Delaware limited liability       STIPULATED PROTECTIVE
  22     company,                                ORDER
  23
                         Plaintiffs,
  24
              v.
  25
         McDONALD’S CORPORATION, a
  26     Delaware corporation,
  27
                         Defendant.
  28
Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 2 of 17 Page ID #:408



    1         The Court, having reviewed the Stipulation for Protective Order entered into
    2   between Plaintiffs Entertainment Studios Networks, Inc. and Weather Group, LLC
    3   and Defendant McDonald’s Corporation, finds that good cause exists to enter an
    4   order approving said Stipulation for Protective Order.
    5         Accordingly, IT IS HEREBY ORDERED as follows:
    6   1.    PURPOSES AND LIMITATIONS
    7         Discovery in this action is likely to involve production of confidential,
    8   proprietary, or private information for which special protection from public
    9   disclosure and from use for any purpose other than prosecuting this litigation may
  10    be warranted. Accordingly, Plaintiffs Entertainment Studios Networks, Inc. and
  11    Weather Group, LLC (collectively, “Plaintiffs”) and Defendant McDonald’s
  12    Corporation (“Defendant”) (together with Plaintiffs, the “Parties”) hereby stipulate
  13    to and petition the Court to enter the following Stipulated Protective Order. The
  14    Parties acknowledge that this Stipulated Protective Order does not confer blanket
  15    protections on all disclosures or responses to discovery and that the protection it
  16    affords from public disclosure and use extends only to the limited information or
  17    items that are entitled to confidential treatment under the applicable legal principles.
  18    The Parties further acknowledge, as set forth in Section 13.3 below, that this
  19    Stipulated Protective Order does not entitle them to file confidential information
  20    under seal; Local Rule 79-5 sets forth the procedures that must be followed and the
  21    standards that will be applied when a party seeks permission from the Court to file
  22    material under seal.
  23    2.    GOOD CAUSE STATEMENT
  24          This action is likely to involve trade secrets, advertising strategies, and other
  25    valuable research, development, commercial, financial, technical and/or proprietary
  26    information for which special protection from public disclosure and from use for any
  27    purpose other than prosecution of this action is warranted. Such confidential and
  28
                                                  -2-
Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 3 of 17 Page ID #:409



    1   proprietary materials and information consist of, among other things, confidential
    2   business or financial information, information regarding confidential business
    3   practices, or other confidential research, development, or commercial information
    4   (including information implicating privacy rights of third parties), information
    5   otherwise generally unavailable to the public, or which may be privileged or
    6   otherwise protected from disclosure under state or federal statutes, court rules, case
    7   decisions, or common law. Accordingly, to expedite the flow of information, to
    8   facilitate the prompt resolution of disputes over confidentiality of discovery
    9   materials, to adequately protect information the parties are entitled to keep
  10    confidential, to ensure that the parties are permitted reasonable necessary uses of such
  11    material in preparation for and in the conduct of trial, to address their handling at the
  12    end of the litigation, and to serve the ends of justice, a protective order for such
  13    information is justified in this matter. It is the intent of the Parties that information
  14    will not be designated as confidential for tactical reasons and that nothing be so
  15    designated without a good faith belief that it has been maintained in a confidential,
  16    non-public manner, and there is good cause why it should not be part of the public
  17    record of this case.
  18    3.    DEFINITIONS
  19          3.1    Action: This pending action, Entertainment Studios Networks, Inc. and
  20    Weather Group, LLC v. McDonald’s Corporation, Case No. 2:21-cv-04972-FMO-
  21    MAA (C.D. Cal.).
  22          3.2    Challenging Party: A Party or Non-Party that challenges the designation
  23    of information or items under this Stipulated Protective Order.
  24          3.3    “CONFIDENTIAL” Information or Items: Information (regardless of
  25    how it is generated, stored or maintained) or tangible things that qualify for protection
  26    under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
  27    Cause Statement.
  28          3.4    Counsel: Outside Counsel of Record and In-House Counsel (as well as

                                                  -3-
Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 4 of 17 Page ID #:410



    1   their support staff).
    2          3.5    Designating Party: A Party or Non-Party that designates information or
    3   items that it produces in disclosures or in responses to discovery as
    4   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
    5   ONLY.”
    6          3.6    Disclosure or Discovery Material: All items or information, regardless
    7   of the medium or manner in which it is generated, stored, or maintained (including,
    8   among other things, testimony, transcripts, and tangible things), that is produced or
    9   generated in disclosures or responses to discovery in this matter.
  10           3.7    Expert: A person with specialized knowledge or experience in a matter
  11    pertinent to the litigation who has been retained by a Party or its counsel to serve as
  12    an expert witness or as a consultant in this Action. Experts shall also include
  13    consultants and investigators.
  14           3.8    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
  15    Information or Items: Extremely sensitive information that qualifies for protection
  16    under Federal Rule of Civil Procedure 26(c), and as specified in the Good Cause
  17    Statement. Such information includes, but is not limited to, trade secret or other
  18    confidential research, development, financial, or other commercial information, the
  19    disclosure of which to another Party or Non-Party would create a substantial risk of
  20    serious harm that could not be avoided by less restrictive means.
  21           3.9    In-House Counsel: Attorneys who are employees of a party to this
  22    Action. In-House Counsel does not include Outside Counsel of Record or any other
  23    outside counsel.
  24           3.10 Non-Party: Any natural person, partnership, corporation, association,or
  25    other legal entity not named as a Party to this action.
  26           3.11 Outside Counsel of Record: Attorneys who are not employees of a party
  27    to this Action but are retained to represent or advise a party to this Action and have
  28    appeared in this Action on behalf of that party or are affiliated with a law firm which

                                                  -4-
Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 5 of 17 Page ID #:411



    1   has appeared on behalf of that party, and includes support staff.
    2         3.12 Party: Any party to this Action, including all of its officers, directors,
    3   employees, consultants, retained experts, and Outside Counsel of Record (and their
    4   support staffs).
    5         3.13 Producing Party: A Party or Non-Party that produces Disclosure or
    6   Discovery Material in this Action.
    7         3.14 Professional Vendors: Persons or entities that provide litigation support
    8   services (e.g., photocopying, videotaping, translating, preparing exhibits or
    9   demonstrations, and organizing, storing, or retrieving data in any form or medium)
  10    and their employees and subcontractors.
  11          3.15 Protected Material: Any Disclosure or Discovery Material that is
  12    designated as “CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL –
  13    ATTORNEYS’ EYES ONLY.”
  14          3.16 Receiving Party: A Party that receives Disclosure or DiscoveryMaterial
  15    from a Producing Party.
  16    4.    SCOPE
  17          The protections conferred by this Stipulated Protective Order cover not only
  18    Protected Material (as defined above), but also (1) any information copied or
  19    extracted from Protected Material; (2) all copies, excerpts, summaries, or
  20    compilations of Protected Material; and (3) any testimony, conversations, or
  21    presentations by Parties or their Counsel that might reveal Protected Material.
  22    However, the protections conferred by this Protective Order do not cover the
  23    following information: (a) any information that is in the public domain at the time of
  24    disclosure to a Receiving Party or becomes part of the public domain after its
  25    disclosure to a Receiving Party as a result of publication not involving a violation of
  26    this Protective Order, including becoming part of the public record through trial or
  27    otherwise; and (b) any information known to the Receiving Party prior to the
  28    disclosure or obtained by the Receiving Party after the disclosure from a source who

                                                  -5-
Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 6 of 17 Page ID #:412



    1   obtained the information lawfully and under no obligation of confidentiality to the
    2   Designating Party. Any use of Protected Material at trial shall be governed by a
    3   separate agreement or order. This Stipulated Protective Order does not govern the
    4   use of Protected Material at trial.
    5   5.    DURATION
    6         Even after final disposition of this litigation, the confidentiality obligations
    7   imposed by this Stipulated Protective Order shall remain in effect until a Designating
    8   Party agrees otherwise in writing or a court order otherwise directs. Final disposition
    9   shall be deemed to be the later of (1) dismissal of all claims and defenses in this
  10    Action, with or without prejudice; and (2) final judgment herein after the completion
  11    and exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  12    including the time limits for filing any motions or applications for extension of time
  13    pursuant to applicable law.
  14    6.    DESIGNATING PROTECTED MATERIAL
  15          6.1    Exercise of Restraint and Care in Designating Material for Protection.
  16    Each Party or Non-Party that designates information or items for protection under
  17    this Stipulated Protective Order must take care to limit any such designation to
  18    specific material that qualifies under the appropriate standards. The Designating
  19    Party must designate for protection only those parts of material, documents, items,
  20    or oral or written communications that qualify so that other portions of the material,
  21    documents, items, or communications for which protection is not warranted are not
  22    swept unjustifiably within the ambit of this Stipulated Protective Order.
  23          Mass, indiscriminate, or routinized designations are prohibited. Designations
  24    that are shown to be clearly unjustified or that have been made for an improper
  25    purpose (e.g., to unnecessarily encumber the case development process or to impose
  26    unnecessary expenses and burdens on other parties) may expose the Designating
  27    Party to sanctions.
  28          6.2    Manner and Timing of Designations. Except as otherwise provided in
                                                 -6-
Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 7 of 17 Page ID #:413



    1   this Stipulated Protective Order, or as otherwise stipulated or ordered, Disclosure or
    2   Discovery Material that qualifies for protection under this Stipulated Protective
    3   Order must be clearly so designated before the material is disclosed or produced.
    4         Designation in conformity with this Stipulated Protective Order requires the
    5   following:
    6                (a)   For information in documentary form (e.g., paper or electronic
    7   documents, but excluding transcripts of depositions or other pretrial or trial
    8   proceedings), that the Producing Party stamp or affix the legend “CONFIDENTIAL”
    9   or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to each page of
  10    each document containing such information or, if that is not practical because of the
  11    form of the document (e.g., Excel spreadsheets), the Producing Party must stamp or
  12    affix the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
  13    ATTORNEYS’ EYES ONLY” to a coversheet or placeholder document associated
  14    with the document. If only a portion or portions of the material on a page qualifies
  15    for protection, the Producing Party also must clearly identify the protected portion(s)
  16    (e.g., by making appropriate markings in the margins).
  17          A Party or Non-Party that makes original documents available for inspection
  18    need not designate them for protection until after the inspecting Party has indicated
  19    which documents it would like copied and produced. During the inspection and
  20    before the designation, all of the material made available for inspection shall be
  21    deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” After the
  22    inspecting Party has identified the documents it wants copied and produced, the
  23    Producing Party must determine which documents, or portions thereof, qualify for
  24    protection under this Stipulated Protective Order. Then, before producing the
  25    specified documents, the Producing Party must affix the legend “HIGHLY
  26    CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to each page that contains
  27    Protected Material. If only a portion or portions of the material on a page qualifies
  28    for protection, the Producing Party also must clearly identify the protected portion(s)

                                                 -7-
Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 8 of 17 Page ID #:414



    1   (e.g., by making appropriate markings in the margins).
    2                 (b)    For testimony given in depositions, that the Designating Party
    3   identify the Disclosure or Discovery Material on the record, before the close of the
    4   deposition, all protected testimony and specify the portions of the transcript and the
    5   level of protection being asserted. When it is impractical to identify separately each
    6   portion of testimony that is entitled to protection and it appears that substantial
    7   portions of the testimony may qualify for protection, the Designating Party may
    8   invoke on the record (before the deposition is concluded), or in writing the next
    9   business day after the conclusion of a deposition, a right to have up to 14 days from
  10    receipt of a final version of the transcript (if a final version of the transcript is ordered)
  11    or 21 days after the deposition (if a final version of the transcript is not ordered) to
  12    identify the specific portions of the testimony as to which protection is sought and to
  13    specify the level of protection being asserted. Only those portions of the testimony
  14    that are appropriately designated for protection within the 14 days or 21 days,
  15    whichever is applicable, shall be covered by the provisions of this Stipulated
  16    Protective Order.
  17           The use of a document as an exhibit at a deposition shall not in any way affect
  18    its designation as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
  19    ATTORNEYS’ EYES ONLY.”
  20                  (c)    For information produced in some form other than documentary
  21    and for any other tangible items, that the Producing Party affix in a prominent place
  22    on the exterior of the container or containers in which the information is stored the
  23    legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
  24    EYES ONLY.” If only a portion or portions of the information warrants protection,
  25    the Producing Party, to the extent practicable, shall identify the protected portion(s).
  26           6.3    Inadvertent Failure to Designate. If timely corrected, an inadvertent
  27    failure to designate qualified information or items does not, standing alone, waive
  28    the Designating Party’s right to secure protection under this Stipulated Protective

                                                     -8-
Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 9 of 17 Page ID #:415



    1   Order for such material. Upon timely correction of a designation, the Receiving Party
    2   must make reasonable efforts to assure that the material is treated in accordance with
    3   the provisions of this Stipulated Protective Order. No Party shall be found to have
    4   violated this Stipulated Protective Order for failing to maintain the confidentiality of
    5   material during a time when that material has not been designated Confidential, even
    6   where the failure to so designate was inadvertent and where the material is
    7   subsequently designated Confidential.
    8   7.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
    9         7.1    Timing of Challenges. Any Party or Non-Party may challenge a
  10    designation of confidentiality at any time that is consistent with the Court’s
  11    Scheduling Order.
  12          7.2    Meet and Confer. The Challenging Party shall initiate the dispute
  13    resolution process by, which shall comply with Local Rule 37.1 et seq., and with
  14    Section 4 of Judge Audero’s Procedures (“Mandatory Telephonic Conference for
  15    Discovery Disputes”).1       The Parties may satisfy the in-person conference
  16    requirements of Local Rule 37-1 through voice-to-voice communication.
  17          7.3    Burden of Persuasion. The burden of persuasion in any such challenge
  18    proceeding shall be on the Designating Party. Frivolous challenges, and those made
  19    for an improper purpose (e.g., to harass or impose unnecessary expenses and burdens
  20    on other parties) may expose the Challenging Party to sanctions. Unless the
  21    Designating Party has waived or withdrawn the confidentiality designation, all
  22    parties shall continue to afford the material in question the level of protection to
  23    which it is entitled under the Producing Party’s designation until the Court rules on
  24    the challenge.
  25    8.    ACCESS TO AND USE OF PROTECTED MATERIALS
  26          8.1    Basic Principles. A Receiving Party may use Protected Material that is
  27
        1
         Judge Audero’s Procedures are available at
  28    https://www.cacd.uscourts.gov/honorable-maria-audero.
                                                  -9-
Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 10 of 17 Page ID #:416



    1   disclosed or produced by another Party or by a Non-Party in connection with this
    2   Action only for prosecuting, defending, or attempting to settle this Action. Such
    3   Protected Material may be disclosed only to the categories of persons and under the
    4   conditions described in this Stipulated Protective Order. When the Action reaches a
    5   final disposition, a Receiving Party must comply with the provisions of Section 14
    6   below (FINAL DISPOSITION).
    7         Protected Material must be stored and maintained by a Receiving Party at a
    8   location and in a secure manner that ensures that access is limited to the persons
    9   authorized under this Stipulated Protective Order.
   10         8.2    Disclosure of “CONFIDENTIAL” Information or Items.                 Unless
   11   otherwise ordered by the Court or permitted in writing by the Designating Party, a
   12   Receiving    Party     may    disclose    any      information   or   item   designated
   13   “CONFIDENTIAL” only to:
   14                (a)     The Receiving Party’s Outside Counsel of Record in this Action,
   15   as well as employees of said Outside Counsel of Record to whom it is reasonably
   16   necessary to disclose the information for this Action;
   17                (b)     The officers, directors, and employees (including In-House
   18   Counsel) of the Receiving Party to whom disclosure is reasonably necessary for the
   19   purpose of litigating this Action;
   20                (c)     Experts (as defined in this Stipulated Protective Order) of the
   21   Receiving Party to whom disclosure is reasonably necessary for this Action and who
   22   have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   23                (d)     The Court and its personnel;
   24                (e)     Court reporters and their staff;
   25                (f)     Professional jury or trial consultants, mock jurors, and
   26   Professional Vendors to whom disclosure is reasonably necessary or this Action and
   27   who have signed the “Acknowledgment and Agreement to be Bound” (Exhibit A);
   28                (g)     The author or recipient of a document containing the information

                                                  - 10 -
Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 11 of 17 Page ID #:417



    1   or a custodian or other person who otherwise possessed or knew the information;
    2                  (h)   During their depositions, witnesses, and attorneys for witnesses
    3   in the Action to whom disclosure is reasonably necessary provided: (i) the deposing
    4   party requests that the witness sign the “Acknowledgment and Agreement to Be
    5   Bound” (Exhibit A); and (ii) the witness will not be permitted to keep any
    6   confidential information unless they sign the “Acknowledgment and Agreement to
    7   Be Bound,” unless otherwise agreed by the Designating Party or ordered by the
    8   Court. Pages of transcribed deposition testimony or exhibits to depositions that reveal
    9   Protected Material may be separately bound by the court reporter and may not be
   10   disclosed to anyone except as permitted under this Stipulated Protective Order; and
   11                  (i)   Any mediator or settlement officer, and their supporting
   12   personnel, mutually agreed upon by any of the parties engaged in settlement
   13   discussions.
   14         8.3      Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   15   ONLY” Information or Items. Unless otherwise ordered by the Court or permitted in
   16   writing by the Designating Party, a Receiving Party may disclose any information or
   17   item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only
   18   to:
   19                  (a)   The Receiving Party’s Outside Counsel of Record and In-House
   20   Counsel, as well as employees of said Outside Counsel of Record and In-House
   21   Counsel to whom it is reasonably necessary to disclose the information for the
   22   purpose of facilitating review by said Outside Counsel of Record and In-House
   23   Counsel;
   24                  (b)   Experts (as defined in this Stipulated Protective Order) of the
   25   Receiving Party to whom disclosure is reasonably necessary for this litigation and
   26   who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   27                  (c)   The Court and its personnel;
   28                  (d)   Court reporters and their staff;

                                                  - 11 -
Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 12 of 17 Page ID #:418



    1                  (e)        Professional jury or trial consultants, mock jurors, and
    2   Professional Vendors to whom disclosure is reasonably necessary or this Action and
    3   who have signed the “Acknowledgment and Agreement to be Bound” (Exhibit A);
    4                  (f)        The author or recipient of a document containing the information
    5   or a custodian or other person who otherwise possessed or knew the information;
    6                  (g)        Any mediator or settlement officer, and their supporting
    7   personnel, mutually agreed upon by any of the parties engaged in settlement
    8   discussions.
    9   9.     PROTECTED MATERIAL REQUESTED, SUBPOENAED OR
   10          ORDERED PRODUCED IN OTHER LITIGATION
   11          If a Party is served with a document request, subpoena or a court order issued
   12   in other litigation that compels disclosure of any information or items designated in
   13   this   Action        as    “CONFIDENTIAL”          or   “HIGHLY     CONFIDENTIAL        –
   14   ATTORNEYS’ EYES ONLY” that Party must:
   15          (a)     Promptly notify in writing the Designating Party. Such notification shall
   16   include a copy of the request, subpoena or court order;
   17          (b)     Promptly notify in writing the party who caused the request, subpoena
   18   or order to issue in the other litigation that some or all of the material covered by the
   19   subpoena or order is subject to this Stipulated Protective Order. Such notification
   20   shall include a copy of this Stipulated Protective Order; and
   21          (c)     Cooperate with respect to all reasonable procedures sought to be pursued
   22   by the Designating Party whose Protected Material may be affected.
   23          If the Designating Party timely seeks a protective order, the Party served with
   24   the request, subpoena or court order shall not produce any information designated in
   25   this action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
   26   EYES ONLY” before a determination by the Court from which the request, subpoena
   27   or order issued, unless the Party has obtained the Designating Party’s permission.
   28   The Designating Party shall bear the burden and expense of seeking protection in that

                                                      - 12 -
Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 13 of 17 Page ID #:419



    1   court of its confidential material and nothing in these provisions should be construed
    2   as authorizing or encouraging a Receiving Party in this Action to disobey a lawful
    3   directive from another court.
    4   10.   A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
    5         PRODUCED IN THIS LITIGATION
    6         10.1 Application. The terms of this Stipulated Protective Order are applicable
    7   to information produced by a Non-Party in this Action and designated as
    8   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
    9   ONLY.” Such information produced by Non-Parties in connection with this litigation
   10   is protected by the remedies and relief provided by this Stipulated Protective Order.
   11   Nothing in these provisions should be construed as prohibiting a Non-Party from
   12   seeking additional protections.
   13         10.2 Notification. In the event that a Party is required, by a valid discovery
   14   request, to produce a Non-Party’s confidential information in its possession, and the
   15   Party is subject to an agreement with the Non-Party not to produce the Non-Party’s
   16   confidential information, then the Party shall:
   17                (a)   Promptly notify in writing the Requesting Party and the Non-
   18   Party that some or all of the information requested is subject to a confidentiality
   19   agreement with a Non-Party;
   20                (b)   Promptly provide the Non-Party with a copy of the Stipulated
   21   Protective Order in this Action, the relevant discovery request(s), and a reasonably
   22   specific description of the information requested; and
   23                (c)   Make the information requested available for inspection by the
   24   Non-Party, if requested.
   25         10.3 Conditions of Production. If the Non-Party fails to seek a protective
   26   order from this Court within fourteen (14) days after receiving the notice and
   27   accompanying information, the Receiving Party may produce the Non-Party’s
   28   confidential information responsive to the discovery request. If the Non-Party timely

                                                 - 13 -
Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 14 of 17 Page ID #:420



    1   seeks a protective order, the Receiving Party shall not produce any information in its
    2   possession or control that is subject to the confidentiality agreement with the Non-
    3   Party before a determination by the Court. Absent a court order to the contrary, the
    4   Non-Party shall bear the burden and expense of seeking protection in this Court of
    5   its Protected Material.
    6   11.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
    7         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
    8   Protected Material to any person or in any circumstance not authorized under this
    9   Stipulated Protective Order, the Receiving Party immediately must (1) notify in
   10   writing the Designating Party of the unauthorized disclosures, (2) use its best efforts
   11   to retrieve all unauthorized copies of the Protected Material, (3) inform the person or
   12   persons to whom unauthorized disclosures were made of all the terms of this
   13   Stipulated Protective Order, and (4) request such person or persons to execute the
   14   “Acknowledgment and Agreement to be Bound” (Exhibit A).
   15   12.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   16         PROTECTED MATERIAL
   17         When a Producing Party gives notice to Receiving Parties that certain
   18   inadvertently produced material is subject to a claim of attorney-client privilege,
   19   work product protection, or other protection from discovery, the obligations of the
   20   Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B).
   21   In addition, if a Receiving Party discovers in its possession material that the
   22   Receiving Party has reason to suspect was produced inadvertently by a Producing
   23   Party despite a claim of privilege or protection from discovery, the Receiving Party
   24   shall promptly notify the Producing Party and afford the Producing Party four (4)
   25   days in which it serve a notice pursuant to Federal Rule of Civil Procedure
   26   26(b)(5)(B), during which four (4) days the Receiving Party shall treat such material
   27   in accordance with the second sentence of Federal Rule of Civil Procedure
   28   26(b)(5)(B). The Court hereby orders, pursuant to Federal Rule of Evidence 502(d),

                                                 - 14 -
Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 15 of 17 Page ID #:421



    1   that inadvertent disclosure of material subject to a claim of attorney-client privilege,
    2   work product protection, or other protection from discovery shall not constitute a
    3   waiver of such privilege or protection. This Section 12 is intended to supplement,
    4   and shall not be interpreted to restrict, whatever procedure may be established in an
    5   e-discovery order that provides for production without prior privilege review.
    6   13.   MISCELLANEOUS
    7         13.1 Right to Further Relief. Nothing in this Stipulated Protective Order
    8   abridges the right of any person to seek its modification by the Court in the future.
    9         13.2 Right to Assert Other Objections. By stipulating to the entry of this
   10   Stipulated Protective Order, no Party waives any right it otherwise would have to
   11   object to disclosing or producing any information or item on any ground not
   12   addressed in this Stipulated Protective Order. Similarly, no Party waives any right to
   13   object on any ground to use in evidence of any of the material covered by this
   14   Stipulated Protective Order.
   15         13.3 Filing Protected Material. A Party that seeks to file under seal any
   16   Protected Material must comply with Local Rule 79-5. Protected Material may only
   17   be filed under seal pursuant to a court order authorizing the sealing of the specific
   18   Protected Material at issue. If a Party’s request to file Protected Material under seal
   19   is denied by the Court, then the Receiving Party may file the information in the public
   20   record unless otherwise instructed by the Court.
   21   14.   FINAL DISPOSITION
   22         After the final disposition of this Action, within sixty (60) days of a written
   23   request by the Designating Party, each Receiving Party must return all Protected
   24   Material to the Producing Party or destroy such material. As used in this subdivision,
   25   “all Protected Material” includes all copies, abstracts, compilations, summaries, and
   26   any other format reproducing or capturing any of the Protected Material. Whether the
   27   Protected Material is returned or destroyed, the Receiving Party must submit a
   28   written certification to the Producing Party (and, if not the same person or entity, to

                                                 - 15 -
Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 16 of 17 Page ID #:422



    1   the Designating Party) by the 60-day deadline that (1) identifies (by category, where
    2   appropriate) all the Protected Material that was returned or destroyed and (2) affirms
    3   that the Receiving Party has not retained any copies, abstracts, compilations,
    4   summaries or any other format reproducing or capturing any of the Protected
    5   Material. Notwithstanding this provision, Counsel is entitled to retain an archival
    6   copy of all pleadings; motion papers; trial, deposition, and hearing transcripts; legal
    7   memoranda; correspondence; deposition and trial exhibits; expert reports; attorney
    8   work product; and consultant and expert work product, even if such materials contain
    9   Protected Material. Any such archival copies that contain or constitute Protected
   10   Material remain subject to this Stipulated Protective Order as set forth in Section 5
   11   above (DURATION).
   12   15.   VIOLATION
   13         Any violation of this Stipulated Order may be punished by any and all
   14   appropriate measures including, without limitation, contempt proceedings and/or
   15   monetary sanctions.
   16
   17
   18   PURSUANT TO STIPULATION, IT IS SO ORDERED.
   19
   20   Dated: 11/12/2021                                 _____________________________
   21                                                     Maria A. Audero
                                                          United States Magistrate Judge
   22
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Case 2:21-cv-04972-FMO-MAA Document 37 Filed 11/12/21 Page 17 of 17 Page ID #:423



    1                                        EXHIBIT A
    2           ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3         I, _______________________ [full name], of
    4   __________________________________ [address], declare under penalty of
    5   perjury that I have read in its entirety and understand the Stipulated Protective
    6   Order that was issued by the United States District Court for the Central District of
    7   California on_________ [date] in the case of Entertainment Studios Networks, Inc.,
    8   et al. v. McDonald’s Corporation, Case No. 2:21-cv-04972-FMO-MAA. I agree to
    9   comply with and to be bound by all the terms of this Stipulated Protective Order
   10   and I understand and acknowledge that failure to so comply could expose me to
   11   sanctions and punishment in the nature of contempt. I solemnly promise that I will
   12   not disclose in any manner any information or item that is subject to this Stipulated
   13   Protective Order to any person or entity except in strict compliance with the
   14   provisions of this Order.
   15         I further agree to submit to the jurisdiction of the United States District Court
   16   for the Central District of California for the purpose of enforcing the terms of this
   17   Stipulated Protective Order, even if such enforcement proceedings occur after
   18   termination of this action. I hereby appoint __________________________ [full
   19   name] of _______________________________________ [address and telephone
   20   number] as my California agent for service of process in connection with this action
   21   or any proceedings related to enforcement of this Stipulated Protective Order.
   22   Alternatively, I agree that such service of process may be served upon me by
   23   sending it to ___________________________________________ [address] or to
   24   _______________________________ [e-mail address].
   25   Signature: _________________________________
   26   Printed name: ______________________________
   27   Date: _________________________________
   28   City & State Where Sworn and Signed: _______________________ 4883-7795-8146, v. 5

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